     Case: 1:22-cv-05334 Document #: 13 Filed: 02/17/23 Page 1 of 3 PageID #:24




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IRON WORKERS’ MID-AMERICA                     )
PENSION PLAN, et al.,                         )
                                              )
                      Plaintiffs,             )     CIVIL ACTION
                                              )
       vs.                                    )     NO. 22 C 5334
                                              )
PIERINI IRON WORKS, INC.,                     )     JUDGE ELAINE E. BUCKLO
an Illinois corporation,                      )
                                              )
                      Defendant.              )


                MOTION FOR ENTRY OF DEFAULT AND JUDGMENT

       Plaintiffs, by their attorneys, and pursuant to Federal Rule of Civil Procedure Rule 55(b),

move for entry of judgment by default against Defendant, PIERINI IRON WORKS, INC., an

Illinois corporation, in the total amount of $517.00, plus Plaintiffs’ court costs and reasonable

attorneys’ fees in the amount of $2,202.25.

       On December 8, 2022, the Summons and Complaint was served on the corporation’s

president, Donald G. Pierini (by tendering a copy of said documents to Cheryl Rogowski, Office

Manager) at his place of business (a copy of the Summons and Affidavit of Service is attached

hereto). Therefore, Defendant’s answer was due on December 29, 2022. As Defendant has failed

to timely answer the Complaint, Plaintiffs respectfully request entry of default and judgment

pursuant to F.R.Civ.P. Rule 55(b).


                                                            /s/ Rebecca L. Andruzzi
        Case: 1:22-cv-05334 Document #: 13 Filed: 02/17/23 Page 2 of 3 PageID #:25




Rebecca L. Andruzzi
Attorney for the Plaintiffs
BAUM SIGMAN AUERBACH & NEUMAN, LTD.
200 West Adams Street, Suite 2200
Chicago, IL 60606-5231
Bar No.: 6338666
Telephone: (312) 216-2550
Facsimile: (312) 236-0241
E-Mail: randruzzi@baumsigman.com

i:\midj\pierini iron works\#30051\notice of motion.rla.df.docx
        Case: 1:22-cv-05334 Document #: 13 Filed: 02/17/23 Page 3 of 3 PageID #:26




                                                CERTIFICATE OF SERVICE

       The undersigned, an attorney of record, hereby certifies that she electronically filed the
foregoing document (Motion for Entry of Default and Judgment) with the Clerk of Court using the
CM/ECF system, and further certifies that I have mailed the above-referenced document by United
States Mail and electronic mail to the following non-CM/ECF participant on or before the hour of
5:00 p.m. this 17th day of February 2023:

                                            Mr. Donald G. Pierini, President
                                            Pierini Iron Works, Inc.
                                            6450 W. 66th Place, Unit B
                                            Bedford Park, IL 60638-5133
                                            david@loftusandcisenberg.com



                                                                         /s/ Rebecca L. Andruzzi


Rebecca L. Andruzzi
Attorney for the Plaintiffs
BAUM SIGMAN AUERBACH & NEUMAN, LTD.
200 West Adams Street, Suite 2200
Chicago, IL 60606-5231
Bar No.: 6338666
Telephone: (312) 216-2550
Facsimile: (312) 236-0241
E-Mail: randruzzi@baumsigman.com

i:\midj\pierini iron works\#30051\notice of motion.rla.df.docx
